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   8                            UNITED STATES DISTRICT COURT
   9                          CENTRAL DISTRICT OF CALIFORNIA
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  11   RONDELL J. MITCHELL,                      Case No. ED CV 19-01569 VBF (PVC)
  12                         Petitioner,
                                                             JUDGMENT
  13          v.
  14   GISELLE MATTESON, Acting Warden,
  15                         Respondent.
  16
  17          IT IS HEREBY ADJUDGED that the above-captioned action is dismissed without
  18   prejudice for lack of jurisdiction.
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  20   DATED: September 18, 2020
  21                                              Hon. VALERIE BAKER FAIRBANK
                                                  UNITED STATES DISTRICT JUDGE
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